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 2                                                                        Honorable Barbara J. Rothstein

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 8                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 9
                                        AT SEATTLE
10
     PEGGY NEFF,                                         Case No.: 2:20-cv-00253-BJR
11
                    Plaintiff,
12
                                                         STIPULATION AND ORDER OF
13          vs.
                                                         DISMISSAL OF ALL CLAIMS WITH
14   JOHNSON CONTROLS, INC., a Wisconsin                 PREJUDICE
     corporation,
15

16                  Defendant.

17

18                                            STIPULATION
19          Plaintiff Peggy Neff and Defendant Johnson Controls, Inc. stipulate and agree that all of
20   Plaintiff’s claims against Defendant should be dismissed with prejudice and without assessment
21   by the Court of costs or attorneys’ fees to any party.
22   //
23   //
24   //
25   //
26   //



     STIPULATION AND ORDER OF                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     DISMISSAL OF ALL CLAIMS WITH                          1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     PREJUDICE - 1                                                 Phone: 206-693-7057 | Fax: 206-693-7058
     Case No. 2:20-CV-00253-BJR
              Case 2:20-cv-00253-BJR Document 14 Filed 11/05/20 Page 2 of 3



 1   Dated: November 4, 2020.
 2

 3   Presented by:
 4   CONNOR & SARGENT PLLC                      OGLETREE, DEAKINS, NASH, SMOAK
 5                                              & STEWART, P.C.
     By: /s/ Anne-Marie Sargent                 By: /s/ Adam T. Pankratz
 6      Anne-Marie Sargent, WSBA #27160         By: /s/ Kyle D. Nelson
        Derik R. Campos, WSBA #47374               Adam T. Pankratz, WSBA #50951
 7
        1000 Second Avenue, Suite 3670             Kyle D. Nelson, WSBA #49981
 8      Seattle, WA 98104                          1201 Third Avenue, Suite 5150
        Telephone: (206) 654-4011                  Seattle, WA 98101
 9      Email: aes@cslawfirm.net                   Telephone: (206) 693-7057
                  derik@cslawfirm.net              Email: adam.pankratz@ogletree.com
10                                                           kyle.nelson@ogletree.com
11   Attorneys for Plaintiff
                                                   Attorneys for Defendant
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     STIPULATION AND ORDER OF             OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     DISMISSAL OF ALL CLAIMS WITH                1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     PREJUDICE - 2                                       Phone: 206-693-7057 | Fax: 206-693-7058
     Case No. 2:20-cv-00253-BJR
               Case 2:20-cv-00253-BJR Document 14 Filed 11/05/20 Page 3 of 3



 1                                              ORDER
 2          The Court reviewed the parties’ Stipulation and Order of Dismissal of All Claims with
 3   Prejudice, and is fully advised.
 4          Pursuant to the parties’ Stipulation and Order of Dismissal of All Claims, the Court
 5   DISMISSES all of Plaintiff’s claims with prejudice and without an assessment by the Court of
 6   costs or attorneys’ fees to any party. Case No. 2:20-cv-00253-BJR is closed.
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 8   DATED: November 5, 2020
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                                                         Honorable Barbara J. Rothstein
11                                                       United States District Court Judge

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     STIPULATION AND ORDER OF                     OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     DISMISSAL OF ALL CLAIMS WITH                        1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     PREJUDICE - 3                                               Phone: 206-693-7057 | Fax: 206-693-7058
     Case No. 2:20-cv-00253-BJR
